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 4                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                             CASE       NO.   1:14-CR-46-LJO-SKO-1
 8                          Plaintiff,                     PRETRIAL ORDER
 9          vs.

10   JOSE TRINIDAD SALAS,
11                          Defendant.
12
     ______________________________/
13
            1.      Trial Date
14
            Trial is set for October 14, 2015 at 8:30 a.m. in Department 4 (LJO) of this Court
15
     before United States District Judge Lawrence J. O’Neill.
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            2.      Further In Limine and Pretrial Motions
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            The parties must contact the Court by emailing imunoz@caed.uscourts.gov to seek
18
     approval prior to filing further in limine or pretrial motions. Such email must identify the
19
     requested motion and need for this Court to resolve the issue.
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            3.      Proposed Jury Voir Dire
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            The parties, no later than October 5, 2015, shall file and serve proposed jury voir dire
22
     examination questions.
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            4.      Witness Lists
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            The parties, no later than October 5, 2015, shall file and serve their respective lists of
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     all witnesses, including those which the parties may reasonably be expected to call as rebuttal
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     witnesses. The parties shall make a good faith effort to include on their witness list only those
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     witnesses they reasonably expect to call.
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            5.      Proposed Jury Instructions and Verdict
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 1          The parties shall serve their proposed jury instructions and verdict on one another no
 2   later than September 24, 2015. The parties shall conduct a conference to address their
 3   proposed jury instructions and verdict no later than September 30, 2015. At the conference,
 4   the parties SHALL attempt to reach agreement on jury instructions and a verdict for use at trial.
 5   The parties shall file and serve all agreed-on jury instructions and verdict no later than October
 6   5, 2015, and identify such as the agreed-on jury instructions and verdict.
 7          If and only if, the parties after genuine, reasonable and good faith effort cannot agree
 8   upon certain specific jury instructions and verdict, the parties shall file and serve their
 9   respective proposed (disputed) jury instructions and verdict no later than October 5, 2015, and
10   identify such as the disputed jury instructions and verdict.
11          All jury instructions and verdict shall indicate the party submitting the instruction or
12   verdict (i.e., joint, Government’s or defendant’s), the number of the proposed instruction in
13   sequence, a brief title for the instruction describing the subject matter, the complete text of the

14   instruction, and the legal authority supporting the instruction.

15          All proposed jury instructions and verdict described above (whether agreed or disputed)

16   shall be e-mailed as a Word (preferable) or WordPerfect attachment to

17   ljoorders@caed.uscourts.gov and lcoffman@caed.uscourts.gov no later than October 5, 2015.

18   Jury instructions will not be given unless they are so e-mailed to the Court. The Court will not

19   accept a mere list of numbers of form instructions from the Ninth Circuit Model Jury

20   Instructions, CALCRIM, CALJIC or other instruction forms. The proposed jury instructions

21   and verdict must be in the form and sequence which the party desires to be read or given to the

22   jury. All blanks and bracketed portions to form jury instructions must be completed or omitted

23   as appropriate.

24          Ninth Circuit Model Jury Instructions SHALL be used where the subject of the

25   instruction is covered by a model instruction. Otherwise CALCRIM or CALJIC instructions

26   SHALL be used where the subject of the instruction is covered by CALCRIM or CALJIC. All

27   instructions shall be short, concise, understandable, and neutral and accurate statements of the

28   law. Argumentative or formula instructions will not be given and must not be submitted. The

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 1   parties shall designate, by italics or underlining, any modification of instructions from statutory
 2   or case authority, or any pattern instruction, such as the Ninth Circuit Model Jury Instructions,
 3   CALCRIM, CALJIC or any other source of pattern instructions, and must specifically state the
 4   modification made to the original form instruction and the legal authority supporting the
 5   modification.
 6          No later than October 5, 2015, the parties may file and serve written objections to
 7   disputed jury instructions and verdict proposed by another party. All objections shall be in
 8   writing, set forth specifically the objectionable matter in the proposed instruction or verdict,
 9   and include a citation to legal authority explaining the grounds for the objection and why the
10   instruction or verdict is improper. A concise argument concerning the instruction or verdict
11   may be included. Where applicable, the objecting party shall submit an alternative proposed
12   instruction or verdict covering the subject or issue of law.
13          6.       Trial Exhibits
14          The parties shall premark their respective exhibits and submit an original and two

15   copies of their premarked exhibits to the clerk’s office no later than October 9, 2015. The

16   parties also shall file and serve their respective exhibit lists no later than October 9, 2015.

17          7.       Trial Briefs

18          At their option, the parties may file and serve trial briefs no later than October 5, 2015.

19          Failure to comply with all provisions of this order may be grounds for imposition of

20   sanctions on counsel or parties who disobey or cause noncompliance with this order.

21   IT IS SO ORDERED.

22      Dated:       September 3, 2015                        /s/ Lawrence J. O’Neill
23                                                        UNITED STATES DISTRICT JUDGE

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